8:12-cr-00282-BCB-MDN         Doc # 383    Filed: 07/05/13    Page 1 of 1 - Page ID # 966




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 8:12CR282
       vs.                                   )
                                             )                   ORDER
ANDREA INSUNZA-LOPEZ,                        )
CERVANDO TERAN TERRAZAS,                     )
                                             )
                     Defendants.             )


       This matter is before the court on defendant Andrea Insunza-Lopez’s motion to
continue trial [368] as counsel was recently appointed and needs time to review discovery
and plea negotiations. The defendant has complied with NECrimR 12.1(a). For good
cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for July 23, 2013 is continued to August 27, 2013.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and August 27, 2013, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED July 5, 2013.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
